907 F.2d 1139Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Kenneth PHILLIPS, Plaintiff-Appellant,v.Howard N. LYLES, Warden;  Cornelius Dean, Sergeant;  RussellF. Wilson, Sergeant;  C. Jobes, Officer;  DonaldElliott, Officer;  State of Maryland,Defendants-Appellees.
    No. 89-6736.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 4, 1990.Decided June 15, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Norman P. Ramsey, District Judge.  (C/A No. 87-1874-R)
      Kenneth Phillips, appellant pro se.
      Glenn William Bell, Office of the Attorney General of Maryland, Baltimore, Md., for appellees.
      D.Md.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Kenneth Phillips appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinions accepting the recommendations of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Phillips v. Lyles, C/A No. 87-1874-R (D.Md. June 7, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    